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IN THE UNITED STATES DISTRICT COURT E| LE D
FOR THE WESTERN DISTRICT OF TEXAS

   
   
 

     

AUSTIN DIVISION MAR 1 2007
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PAULSSON GEOPHYSICAL § BYEST=ERN H'ST v ~’
SERVICES,INC., § 1 _ , _____
§
Plaimiff, §
§
v. § C. A. No. A-06-CA-952LY
§
AXEL M. SIGMAR; RESERVOIR §
SYSTEMS, lNC.; SIGMA RESEARCH, §
INC. AND RESERVoIR SYSTEMS §
INTERNACIONAL, s.A. DE C.v., §
‘ §
Defendants. §
N.QLQM

Notice is hereby given that Axel M. Sigrnar, Reservoir Systerns, Inc. and Sigma
Research, Inc. defendants in the above named case, hereby appeal to the United States Court of
Appeals for the Fifth Circuit the preliminary injunction entered in this action on the 14th day of
February, 2007.

Dated: March 15, 2007.

736375v1/08031-009961

 

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Respectfully submitted,

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Ma§l/Tri e, Jr.

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Attomey-in-Charge for Defendant,
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SIGMA RESEARCH, INC.; and

 

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CERTIFICATE OF SERVICE

l hereby certify that on the 15th day of March, 2007, a true and correct copy of the

foregoing instrument Was served on the following counsel of record via first class mail:

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